                                     IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                         )
                                                               )        CHAPTER:             13
JETHRO AND JENNIFER THURSTON                                   )        CASE NO.:            20-00625
5187 MURFREESBORO ROAD                                         )        JUDGE:               MASHBURN
LEBANON, TN 37090                                              )
SSN: XXX-XX-0803/8042                                          )
  Debtors.                                                     )
                                                               )
                                                               )

THE DEADLINE FOR FILING A TIMELY RESPONSE IS: April 13, 2020.
IF A RESPONSE IS TIMELY FILED, THE HEARING WILL BE: April 22, 2020, at 8:30 a.m. in Courtroom 1, Customs
House, 701 Broadway, Nashville, TN 37203.

     NOTICE OF MOTION TO APPROVE ATTORNEY TO REPRESENT THE JOINT DEBTOR AND THE ESTATE

Counsel for Debtors have asked the court for the following relief: Motion to Approve Attorney to Represent the Joint
Debtor and the Estate.

        YOUR RIGHTS MAY BE AFFECTED. If you do not want the court to grant the attached motion by entering the
attached order, or if you want the court to consider your views on the motion, then on or before the response date stated
above, you or your attorney must:

1.       File with the court your response or objection explaining your position. PLEASE NOTE: THE BANKRUPTCY
         COURT FOR THE MIDDLE DISTRICT OF TENNESSEE REQUIRES ELECTRONIC FILING. ANY RESPONSE
         OR OBJECTION YOU WISH TO FILE MUST BE SUBMITTED ELECTRONICALLY.                              TO FILE
         ELECTRONICALLY, YOU OR YOUR ATTORNEY MUST GO TO THE COURT WEBSITE AND FOLLOW THE
         INSTRUCTIONS AT: <https://ecf.tnmb.uscourts.gov> .

         If you need assistance with Electronic Filing you may call the Bankruptcy Court at (615) 736-5584. You may also
         visit the Bankruptcy Court in person at: US Bankruptcy Court, 701 Broadway, 1st Floor, Nashville, TN (Monday -
         Friday, 8:00 A.M. - 4:00 P.M.).

2.       Your response must state that the deadline for filing responses, the date of the scheduled hearing and the motion
         to which you are responding is.


       If a response is filed before the deadline stated above, the hearing will be held at the time and place indicated
above. THERE WILL BE NO FURTHER NOTICE OF THE HEARING DATE. You may check whether a timely response
has been filed by calling the Clerk’s office at (615) 736-5584 or viewing the case on the Court’s website at
<www.tnmb.uscourts.gov>.


        If you or your attorney do not take these steps, the court may decide that you do not oppose the relief sought in
the motion and may enter an order granting that relief.

Date: March 23, 2020                                     /s/ Scott D. Wilson
                                                         SCOTT D. WILSON, NO. 20339
                                                         Attorney for Debtor(s)
                                                         405 1/2 A 31st Ave. N.
                                                         Nashville, TN 37209
                                                         Phone:(615) 297-2400
                                                         Fax:(615) 634-0241
                                                         wilsonlgl@hotmail.com




         Case 3:20-bk-00625        Doc 23     Filed 03/23/20 Entered 03/23/20 09:21:00                Desc Main
                                              Document     Page 1 of 7
                            IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                )
                                      )     CHAPTER:   13
JETHRO AND JENNIFER THURSTON          )     CASE NO.:  20-00625
5187 MURFREESBORO ROAD                )     JUDGE:     MASHBURN
LEBANON, TN 37090                     )
SSN: XXX-XX-0803/8042                 )
  Debtors.                            )
                                      )
                                      )
                      MOTION TO APPROVE ATTORNEY TO
                REPRESENT THE JOINT DEBTOR AND THE ESTATE

          COME the Debtors, through counsel, and pursuant to 11 U.S.C. §1303, moves to approve

Christopher Boiano, and the law firm of Boiano & Boiano, pursuant to 11 U.S.C. §327 and Rule 2014,

F.R.B.P., to represent the Joint Debtor in the employment claims against CoreCiv. Pursuant to the

attorney/client agreement between the Debtor and the law firm of Boiano & Boiano, attorney fees are

thirty-three percent (33%) of any and all amounts recovered on behalf of the Debtor, plus out-of-pocket

expenses or forty percent (40%) in the event the matter is resolved by a trial, plus out-of-pocket expenses.

          The Joint Debtor attaches her attorney’s statement pursuant to Rule 2014, F.R.B.P., as an exhibit

hereto.

          The Joint Debtor would be entitled to her exemption pursuant to T.C.A. 26-2-103 in the amount

of $6,800.00, any funds over and above that amount, which shall be net to the Joint Debtor, shall go to the

Estate to be paid under the Plan.

          Debtors’ Counsel will apply for fees in the amount of $200.00 pursuant to the Rights and

Responsibilities entered between Counsel and the Debtors on January 30, 2020, for representation in this

matter.

          PREMISES CONSIDERED, the Debtor moves to approve Christopher Boiano and the law firm

of Boiano & Boiano as attorneys for the Joint Debtor and the Estate.




Case 3:20-bk-00625          Doc 23     Filed 03/23/20 Entered 03/23/20 09:21:00                 Desc Main
                                       Document     Page 2 of 7
Respectfully submitted:

/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339
Attorney for Debtor(s)
405 1/2 A 31st Ave. N.
Nashville, TN 37209
Phone:(615) 297-2400
Fax:(615) 634-0241
wilsonlgl@hotmail.com
                                      CERTIFICATE OF SERVICE

         I certify that on this 23rd day of March, 2020, I mailed/e-mailed a copy of the foregoing to Henry E.
Hildebrand, III, the Chapter 13 Trustee, P.O. Box 340019, Nashville, TN 37203; the Assistant U.S. Trustee,
318 Customs House, 701 Broadway, Nashville, TN 37203; to the Debtor at the above-referenced address; to
Christopher Boiano, Esquire, Boiano & Boiano, 115 Shivel Drive, Hendersonville, TN 37075; and to all filed
creditors per the attached matrix.


/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339
57 TOTAL USPS MAILINGS: $57.00




                          ADVANCED DISAGNOSTIC IMAGING
                          PO BOX 292367
                          Nashville TN 37229
                          AES/PHEAA
                          Attn: Bankruptcy
                          Po Box 2461
                          Harrisburg PA 17105
                          AMERICAN MEDICAL RESPONSE OF TN
                          50 SOUTH MAIN STREET, STE 401
                          Akron OH 44308
                          Ascendium Education Solutions, Inc
                          PO Box 8961
                          Madison WI 53708-8961
                          Atlas Acquisitions LLC
                          294 Union St.
                          Hackensack, NJ 07601
                          BIG PICTURE LOANS
                          ATTN: CUSTOMER SUPPORT
                          PO BOX 704
                          Watersmeet MI 49969
                          BRIDGECREST
                          7300 E HAMPTON AVENUE, STE 101
                          Mesa AZ 85209




Case 3:20-bk-00625          Doc 23     Filed 03/23/20 Entered 03/23/20 09:21:00                  Desc Main
                                       Document     Page 3 of 7
                     BUDDYS HOME FURNISHINGS
                     250 SEGLER DRIVE
                     Oak Grove KY 42262
                     CASHNET USA
                     175 WEST JACKSON
                     SUITE 1000
                     Chicago IL 60604
                     Central Credit Services, LLC
                     9550 Regency Square Blvd
                     Suite 500 A
                     Jacksonville FL 32225
                     Chase Card Services
                     Attn: Bankruptcy
                     Po Box 15298
                     Wilmington DE 19850
                     Commonwealth Financial Systems
                     Attn: Bankruptcy
                     245 Main Street
                     Dickson City PA 18519
                     CREDIT ONE BANK
                     PO BOX 60500
                     City of Industry CA 91716-0500
                     Debt Recovery Solution
                     Attn: Bankruptcy
                     6800 Jericho Turnpike Suite 113e
                     Syosset NY 11791
                     Directv, LLC
                     by American InfoSource as agent
                     PO Box 5008
                     Carol Stream, IL 60197-5008
                     Fingerhut
                     Attn: Bankruptcy
                     Po Box 1250
                     Saint Cloud MN 56395
                     FIRST ACCESS
                     PO BOX 5220
                     Sioux Falls SD 57117
                     First Nataional Bank/Legacy
                     Attn: Bankruptcy
                     Po Box 5097
                     Sioux Falls SD 57117
                     First PREMIER Bank
                     Attn: Bankruptcy
                     Po Box 5524
                     Sioux Falls SD 57117
                     FOX COLLECTION
                     PO BOX 528




Case 3:20-bk-00625     Doc 23      Filed 03/23/20 Entered 03/23/20 09:21:00   Desc Main
                                   Document     Page 4 of 7
                     Goodlettsville TN 37070-0528
                     Great Lakes Higher Education Corporation
                     Attn: Bankruptcy
                     Po Box 7860
                     Madison WI 53707
                     Great Lakes Higher Education Corporation
                     c/o The United States Attorney s Office
                     110 9th Ave S # A961
                     Nashville TN 37203
                     IC System, Inc
                     Attn: Bankruptcy
                     Po Box 64378
                     Saint Paul MN 55164
                     INTERNAL REVENUE SERVICE
                     CENTRALIZED INSOLVENCY OPERATIONS
                     PO BOX 7346
                     Philadelphia PA 19101-7346
                     J & L SALES AND RENTALS LLC
                     PO BOX 146
                     Paris TN 38242
                     KNIGHT & HOOPER PLLC
                     701 MARKET ST SUITE 700
                     PO BOX 11583
                     Chattanooga TN 37401-2583
                     LEE & LEE ATTORNEYS AT LAW
                     109 E GAY ST
                     Lebanon TN 37087
                     LVNV Funding, LLC
                     Resurgent Capital Services
                     PO Box 10587
                     Greenville, SC 29603-0587
                     Massey's
                     c/o Creditors Bankruptcy Service
                     P.O. Box 800849
                     Dallas, TX 75380
                     Medicredit Inc.
                     Attn: Bankruptcy Department
                     Po Box 1629
                     Maryland Heights MO 63043
                     Merrick Bank/CardWorks
                     Attn: Bankruptcy
                     Po Box 9201
                     Old Bethpage NY 11804
                     Midnight Velvet
                     c/o Creditors Bankruptcy Service
                     P.O. Box 800849
                     Dallas, TX 75380




Case 3:20-bk-00625     Doc 23      Filed 03/23/20 Entered 03/23/20 09:21:00   Desc Main
                                   Document     Page 5 of 7
                     MONROE CARELL JR. CHILDRENS HOSPITAL AT
                     VANDERBILT UNIVERSITY
                     DEPT 1171 PO BOX 121171
                     Dallas TX 75312
                     MRS BPO LLC
                     1930 OLNEY AVENUE
                     Cherry Hill NJ 08003
                     Nationwide Recovery
                     501 Shelley Dr Ste 300
                     Tyler TX 75701
                     Navient
                     Attn: Claims Dept
                     Po Box 9500
                     Wilkes-Barr PA 19773
                     Navient
                     c/o The United States Attorney s Office
                     110 9th Ave S # A961
                     Nashville TN 37203
                     Paragon Revenue Group
                     Attn: Bankruptcy
                     216 Le Phillip Ct Ne
                     Concord NC 28025
                     PHILLIPS & COHEN ASSOCIATES LTD
                     1002 JUSTISON ST
                     Wilmington DE 19801
                     PHOENIX FINANCIAL SERVICES LLC
                     PO BOX 361450
                     Indianapolis IN 46236-1450
                     PIONEER CREDIT RECOVERY INC
                     26 EDWARD STREET
                     Arcade NY 14009
                     RADIOLOGY ALLIANCE
                     PO BOX 440166
                     Nashville TN 37244
                     RECEIVABLES PERFORMANCE MANAGEMENT LLC
                     20816 44TH AVE W
                     Lynnwood WA 98036
                     Security Credit Services
                     Attn: Bankruptcy
                     Po Box 1156
                     Oxford MS 38655
                     Seventh Avenue
                     c/o Creditors Bankruptcy Service
                     P.O. Box 800849
                     Dallas, TX 75380
                     STENGER & STENGER
                     2618 EAST PARIS AVE SE




Case 3:20-bk-00625     Doc 23      Filed 03/23/20 Entered 03/23/20 09:21:00   Desc Main
                                   Document     Page 6 of 7
                     Grand Rapids MI 49546
                     Tea Olive, LLC
                     PO BOX 1931
                     Burlingame, CA 94011
                     TENNOVA HEALTHCARE
                     PO BOX 1280
                     Oaks PA 19456
                     TENNOVA HEALTHCARE
                     PO BOX 281384
                     Atlanta GA 30384
                     THE HILL FIRM PLLC
                     PO BOX 150529
                     Nashville TN 37215
                     THOMAS THURSTON
                     5187 MURFREESBORO ROAD
                     Lebanon TN 37090
                     TN QUICK CASH
                     408 S CUMBERLAND ST
                     Lebanon TN 37087
                     Total Visa/Bank of Missouri
                     Attn: Bankruptcy
                     Po Box 85710
                     Sioux Falls SD 57118
                     Usdoe/glelsi
                     Attn: Bankruptcy
                     Po Box 7860
                     Madison WI 53717
                     Vance & Huffman Llc
                     Attn: Bankruptcy
                     55 Monette Pkwy, Ste 100
                     Smithfield VA 23430
                     VERIZON WIRELESS
                     PO BOX 25505
                     Lehigh Valley PA 18002-5505
                     Wakefield & Associates
                     Attn: Bankruptcy
                     7005 Middlebrook Pike
                     Knoxville TN 37909
                     World Finance Corp. c/o World Acceptance Corp.
                     Attn: Bankruptcy Processing Center
                     PO Box 6429
                     Greenville, SC 29606




Case 3:20-bk-00625     Doc 23     Filed 03/23/20 Entered 03/23/20 09:21:00   Desc Main
                                  Document     Page 7 of 7
